                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
                        NO. 5:08-CR-365-1BR


UNITED STATES OF AMERICA          :
                                  :
           v.                     :
                                  :
JUAN MIGUEL GARCIA-SOTO           :


                      FINAL ORDER OF FORFEITURE
                    AS TO THE 2006 NISSAN ALTIMA

           WHEREAS, on September 8, 2009, this Court entered a

Preliminary Order of Forfeiture pursuant to the provision of

21 U.S.C. § 853, based upon the defendant pleading guilty to

21 U.S.C. § 846, and entering into a Consent Decree of Forfeiture

on August 27, 2009 agreeing to the forfeiture of the property

listed in the September 8, 2009 Preliminary Order of Forfeiture,

to wit:   a) A 2006 Nissan Altima, VIN: 1N4AL11D46C193740, and

b) A 2004 Porsche, Cayenne, VIN: WP1AB29P84LA63022;

           AND WHEREAS, the United States published notice of this

forfeiture at the www.forfeiture.gov web site for at least 30

consecutive days, between April 3, 2010 and May 2, 2010, as

required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for

Admiralty of Maritime Claims and Asset Forfeiture Actions.                 Said

published notice advised all third parties of their right to

petition the court within sixty (60) days from the first day of

the publication date for a hearing to adjudicate the validity of

their alleged legal interest in the forfeited property;




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            AND WHEREAS, a Settlement Agreement Recognizing the

Interest of North State Acceptance, LLC as to the subject 2006

Nissan Altima was filed with this Court on May 14, 2010;

            AND WHEREAS, it appears from the record that no claims,

contested or otherwise, have been filed for the subject 2006

Nissan Altima described in this Court's September 8, 2009

Preliminary Order of Forfeiture, other than those specifically

mentioned herein;

            It is HEREBY ORDERED, ADJUDGED and DECREED:

            1.    That the May 14, 2010 Settlement Agreement

Recognizing the Interest of North State Acceptance, LLC is

approved.

            2.   That the subject 2006 Nissan Altima listed in the

September 8, 2009 Preliminary Order of Forfeiture is hereby

forfeited to the United States.      That the United States

Department of Homeland Security is directed to dispose of the

subject 2006 Nissan Altima according to law.

            3.   That any and all forfeited funds shall be

deposited by the United States Department of Homeland Security as

soon as located or recovered into the Department of Treasury’s

Assets Forfeiture Fund in accordance with 28 U.S.C. § 524(c) and




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21 U.S.C. § 881(e).

     This 30 July 2010.




                                  __________________________________
                                       W. Earl Britt
                                       Senior U.S. District Judge




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